  Case 1-18-45836-ess          Doc 39     Filed 04/24/19    Entered 04/24/19 15:00:25




                          GOMBERG LEGAL, P.C.
1001 Avenue of the Americas, #1222                                   Tel. (914) 525-4392
New York, NY 10018                                            GombergLegalPC@gmail.com
Stanislav Gomberg, Esq.
Lead Attorney
Admitted in
EDNY, SDNY, NY & NJ
Via ECF:                                                                April 24, 2019
Honorable Elizabeth S. Stong
United States Bankruptcy Judge
United Stated Bankruptcy Court/Eastern District of NY
271-C Cadman Plaza East, Courtroom 3585
Brooklyn, NY 11201

                          Re:           Loss Mitigation Status Letter
                          Debtor:       Martha Perdomo
                          Case No.:     18-45836-ess

Honorable Judge Stong,

        The Undersigned represents the above-referenced Debtor within the herein Loss
Mitigation proceedings. This letter is to serve as a written status report on behalf of Debtor
Martha Perdomo pursuant to the Eastern District of New York Loss Mitigation Program
Procedures.
        A Short Sale package for Debtor’s residence, the subject premises, was submitted
by Debtor’s broker, but was marked incomplete. A renewed full and complete short sale
application is being finalized for filing on the Equator system to correct any errors in the
first short sale application. Accordingly, Debtor respectfully requests a short extension of
the Loss Mitigation Order to demonstrate full submission by Debtor (and her broker).

        Thank you respectfully for your attention to this matter.

                                                      Respectfully Yours,

                                                      _s/ Stanislav Gomberg__
                                                      Stanislav Gomberg, Esq.
                                                      Gomberg Legal, P.C.
                                                      Attorneys for Martha Perdomo

Cc: via ECF & E-mail
Shapiro, DiCaro & Barak, LLC (dcallahan@logs.com)
